8:09-cr-00287-LES-TDT   Doc # 141   Filed: 10/14/10   Page 1 of 1 - Page ID # 799



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:09CR287
                              )
          v.                  )
                              )
YER YANG,                     )                       ORDER
                              )
               Defendant.     )
______________________________)


           After being acquitted on Count I of the indictment,

           IT IS ORDERED that Count II of the indictment is

dismissed as to the defendant Yer Yang only,

           DATED this 14th of October, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ___________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
